Case 2:04-cv-02473-.]DB-dkv Document 24 Filed 07/15/05 Page 1 of 3 Page|D 28

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IN THE UNI'I`ED STATES DISTRICT COUR'I' "" ' °

FOR THE wEsTERN DISTRICT op TENNESSEE
WESTERN DIvIsION 05 JUL |5 PH 3= 143

?MMM.

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sTEPHEN UNDERWOOD, .~»
W@ GF ._ ;.,.?_?\éPH!S

  

Plaintiff,

V, CASE NO. 04-2473 B/V

'I`HE CITY OF MEMPHIS, et al.,

-.__»-._d-._,\_/-_,,~`,-_J-._»~_,,

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE TO FILE AN AMENDED
PLEADING

 

Before the court is the November' 16, 2004 motion. of the
plaintiff, Stephen Underwood, pursuant to Rule l§(a) of the Federal
Rules of Civil Procedure for leave to amend his complaint. The
plaintiff seeks to amend his complaint to affirmatively plead the
jurisdictional prerequisite of compliance With the Tennessee
Governmental Tort Liability Act, Tenn. Code Ann. § 29-20~303,
including the waiver of immunity. For the reasons below, the
plaintiff’s request for leave to amend is GRANTED.

Pursuant to Local Rule 7.2(a)(2), responses to n©tions in
civil cases are to be filed Within fifteen (15) days after service
of the motion. The defendant, City of Memphis, has not filed a
response to this motion. and the time for responding has now
expired. Rule 7.2(a)(2) provides further that “[f]ailure to

respond timely to any motion ... may be deemed grounds for granting

the motion.”

Tnis document entered On the docket chest in compliance
Wim squ 53 and/or 79(3) FRCP on -# ' 05

Case 2:O4-cv-O2473-.]DB-dkv Document 24 Filed 07/15/05 Page 2 of 3 Page|D 29

In the absence of any response from the defendant, the
plaintiff's motion to amend his complaint is granted. The
plaintiff shall file and serve his amended complaint attached to
his motion within ten (10) days of the date of entry of this order.

IT IS SO ORDERED this 14th day Of July, 2005

@(M /(, @Mr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02473 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable .1. Breen
US DISTRICT COURT

